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                              EXHIBIT 15
1/24/2021Case 2:21-cv-10163-GAD-APP             ECF No.Mail
                                                        28-16,      PageID.1153
                                                            - Eric Grundlehner - Outlook Filed 02/19/21 Page 2 of 3



      Re: DIT bill
      Eric Grundlehner <eric@detroitit.com>
      Wed 12/16/2020 2:32 PM
      To: Mike Musheinesh <mikeaxle1980@gmail.com>; Jonathan Schwartz <jschwartz@jaffelaw.com>
      Cc: Jason C. Yert <jyert@jrlawplc.com>; Stephanie Miller <stephanie@detroitit.com>
      Hi Mike,

      Just circling back on a few things.

             Agreement - Jason (our a orney) let me know he sent over the se lement agreement to Jonathan
             for your review.
             Support - Marcie just emailed and asked for some IT assistance. Are we OK to work with her? Also,
             what we sent over a quote for 5 more handhelds on Monday.
             Wire - We spoke with Marcie yesterday and she men oned sending another 10k wire this week
             towards the balance.

      Give me a ring if you want to chat at 248-731-0131.

      Thanks,

      Eric


      From: Mike Musheinesh <mikeaxle1980@gmail.com>
      Sent: Sunday, December 13, 2020 8:15 PM
      To: Eric Grundlehner <eric@detroi t.com>; Jonathan Schwartz <jschwartz@jaﬀelaw.com>; Marcie Pearce
      <mpearce@detroitaxle.com>
      Subject: Re: DIT bill

      Eric
      Why did you not reply to me?
      You need to confirm, so we move forward and know we are are the same page

      You need to tell us when we need anything new as cod
      And must be billed and payed for immediately
      We are on COD only Eric
      And we do we start paying you 10k a week?



      On Wed, Dec 9, 2020 at 10:47 PM Mike Musheinesh <mikeaxle1980@gmail.com> wrote:
       Eric as we talk
       We agreed that we owe you $100k
       And you are good with us paying you $10k a month till your payed off
       And if you choose to go to someone else after your payed
       You will not trouble us, and will hand over control with out any problems
       If we ask you to do anything for us
       You will tell us what the cost is and bill us COD
       And we will never owe you any money for new work
https://outlook.office.com/mail/eric@detroitit.com/search/id/AAMkAGUzYjJmY2Y1LTE4MDQtNGUxNS04NzRjLThmNmRhZmY1NDFkZgBGAAAAAAB…   1/2
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         Please confirm you understand




https://outlook.office.com/mail/eric@detroitit.com/search/id/AAMkAGUzYjJmY2Y1LTE4MDQtNGUxNS04NzRjLThmNmRhZmY1NDFkZgBGAAAAAAB…   2/2
